Case 1:17-mc-00151-LPS Document 612 Filed 06/14/23 Page 1 of 7 PageID #: 15404




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

CRYSTALLEX INTERNATIONAL
CORPORATION,

                       Plaintiff,
                                            Case No. 1:17-mc-00151-LPS
      v.

BOLIVARIAN REPUBLIC OF VENEZUELA,

                       Defendant.

   SALE PROCESS PARTIES PHILLIPS PETROLEUM COMPANY VENEZUELA
 LIMITED, CONOCOPHILLIPS PETROZUATA B.V., AND CONOCOPHILLIPS GULF
 OF PARIA B.V.’S REPLY BRIEF IN RESPONSE TO THE COURT’S MAY 10 ORDER


                                           ROSS ARONSTAM & MORITZ LLP
 Of Counsel:
                                           Garrett B. Moritz (Bar No. 5646)
 Michael S. Kim                            Elizabeth M. Taylor (Bar No. 6468)
 Marcus J. Green                           1313 North Market Street, Suite 1001
 Josef M. Klazen                           Wilmington, Delaware 19801
 Lydia L. Halpern                          (302) 576-1600
 KOBRE & KIM LLP                           gmoritz@ramllp.com
 800 Third Avenue                          etaylor@ramllp.com
 New York, New York 10022
 (212) 488-1200                            Attorneys for Phillips Petroleum
 michael.kim@kobrekim.com                  Company Venezuela Limited,
 marcus.green@kobrekim.com                 ConocoPhillips Petrozuata B.V., and
 jef.klazen@kobrekim.com                   ConocoPhillips Gulf of Paria B.V.
 lydia.halpern@kobrekim.com

 Richard G. Mason
 Amy R. Wolf
 Michael H. Cassel
 WACHTELL, LIPTON, ROSEN & KATZ
 51 West 52nd Street
 New York, New York 10019
 (212) 403-1000
 RGMason@wlrk.com
 ARWolf@wlrk.com
 MHCassel@wlrk.com
Dated: June 14, 2023
Case 1:17-mc-00151-LPS Document 612 Filed 06/14/23 Page 2 of 7 PageID #: 15405




                                                   TABLE OF CONTENTS

                                                                                                                                           Page

ARGUMENT ...................................................................................................................................1

          A.         The Date of Registration Is Not Relevant to the Issue of Priority in This
                     Litigation ................................................................................................................. 1

          B.         The Date of a Motion Should Not Control the Issue of Priority ............................. 2

          C.         Gold Reserve’s Pro Rate Priority Proposal Contradicts Delaware Law ................. 3
Case 1:17-mc-00151-LPS Document 612 Filed 06/14/23 Page 3 of 7 PageID #: 15406




                                                 TABLE OF AUTHORITIES

                                                                                                                                     Page(s)
Statutes

6 Del. C. § 8-112 ............................................................................................................................. 1

8 Del. C. § 324(a) ............................................................................................................................ 1

10 Del. C. § 4702 ............................................................................................................................ 1




                                                                       ii
Case 1:17-mc-00151-LPS Document 612 Filed 06/14/23 Page 4 of 7 PageID #: 15407




        Phillips Petroleum Company Venezuela Limited and ConocoPhillips Petrozuata B.V.,

Plaintiffs in Case No. 19-mc-00342-LPS, and ConocoPhillips Gulf of Paria B.V., Plaintiff in Case

No. 22-mc-00264-LPS (collectively, “ConocoPhillips”), pursuant to the Court’s order of May 10,

2023 (D.I. 559) respectfully submit this Reply Brief.

                                             ARGUMENT

        ConocoPhillips submits this Reply solely to address the various proposals by other

creditors concerning the issue of priority. Put simply, priority should be based on the date of

issuance of the conditional fi fa writs as ConocoPhillips requested because this approach most

closely adheres to Delaware’s first-in-time policy. The alter ego creditors’ proposals attempt to

erase the differences among creditors and therefore undermine or contradict Delaware law.

        A.      The Date of Registration Is Not Relevant to the Issue of Priority in This
                Litigation

        The argument that the date of registration should determine priority (e.g., Tidewater),

ignores both the reality of this case and the clear distinction under Delaware law between liens on

real property and liens on personal property. First, unlike litigation involving real property where

a judgment alone creates a lien, the timing of perfection of attachment is the key to priority among

competing liens on personalty. Compare 10 Del. C. § 4702 (“A judgment shall bind lands only

from the time of actually entering or signing it”); with 8 Del. C. § 324(a) (“the attachment is not

laid” on certificated shares until 6 Del. C. § 8-112 has been satisfied). Second, reliance on the date

of registration makes no sense here because, on the date the alter ego creditors’ judgments were

registered, they had judgments against the Republic only, not any claim or judgment against

PDVSA, much less any attachments (conditional or otherwise) on the PDVH shares that would

entitle them to priority under Delaware law. The date of registration simply is not relevant to the

issue of priority among the creditors in this litigation.
Case 1:17-mc-00151-LPS Document 612 Filed 06/14/23 Page 5 of 7 PageID #: 15408



       B.        The Date of a Motion Should Not Control the Issue of Priority

       The argument that the Court should treat the date of filing a motion requesting a fi fa writ

as the benchmark for determining priority, is also flawed and should be rejected. The alter ego

creditors offer a variety of rationales for using the motion date as controlling, none of which

is compelling.

       For example, a number of the alter ego creditors argue that the motion filing date should

control because that approach would “reward creditors for their diligence” (D.I. 585 at 4) and that

using the motion filing date would be the “most equitable” approach because “it respects the work

and effort of those parties that sought to prove a right to attachment first.” (D.I. 596 at 9). In this

hypothetical world, these creditors would have the Court ignore the fact that they were not entitled

to fi fa writs to attach the PDVH shares upon the mere filing of their motions. Like the registration

date proposal, this approach again ignores the fact that these creditors had no judgment against

PDVSA at the time their motions were filed. They still had to prove that PDVSA is the alter ego

of the Republic, as OIEG found out when the Court denied its first motion for a fi fa writ filed in

November 2019. Delaware’s first-in-time policy does not reward a creditor for mere effort: it

focuses on when a creditor perfected its attachment, and the closest proxy to that requirement here

is this Court’s issuance of a conditional writ. With that issuance, the creditor had completed every

step in the process save for service of the writ, which was barred by sanctions.

       Certain other alter ego creditors (OIEG, ACL1 and Gold Reserve) argue that the sanctions

were the cause of the timing of the Court’s alter ego rulings, and they therefore should be treated

as if the Court had ruled earlier. This attempt to rewrite history, or to retrospectively pin blame on

the Court for the timing of its rulings, does not provide a basis for using equitable principles to

fashion a new theory of priority with no support in Delaware law. While ConocoPhillips has not

requested that it be accorded priority because its claim is directly against PDVSA, having a direct


                                                  2
Case 1:17-mc-00151-LPS Document 612 Filed 06/14/23 Page 6 of 7 PageID #: 15409




claim affected the timing of when ConocoPhillips obtained a conditional writ, because it had

nothing more to prove. That is a perfectly reasonable basis for ConocoPhillips’ earlier writ to have

priority over writs issued to creditors which do not have such direct claims. Indeed, the Court

recognized this difference in its March 2022 opinion, when it said: “ConocoPhillips will almost

certainly be in a better position than the other judgment creditors to establish its priority in the

PDVH shares by perfecting a lien.” See Case No. 1:21-mc-46 (D.I. 33 at 22).

        C.     Gold Reserve’s Pro Rate Priority Proposal Contradicts Delaware Law

        Gold Reserve argues that the Court should abandon all first-in-time principles, without

citation to any Delaware authority, on the grounds that it is “not asking for more than what these

judgment creditors bargained for: all writs becoming equally effective when the same condition

[lifting of sanctions] occurred.” D.I. 594 at 9. According to Gold Reserve, because of sanctions,

“no judgment creditor could get ahead of any other judgment creditor in the collections race.”

Id. at 7.

        It is unclear what the reference to what creditors “bargained for” means. Id. at 9. Enforcing

judgments by way of judicially-sanctioned execution remedies is not a negotiation or “bargain.”

And although it is true that sanctions prevented creditors from perfecting their attachments, those

sanctions did not prevent creditors from acting as promptly as possible to enforce their rights to

the maximum extent possible under the sanctions regime. Accordingly, as ConocoPhillips pointed

out in its Answering Brief, it may be appropriate to treat similarly situated alter ego creditors on a

pro rata basis, but there is no basis in Delaware law to treat direct creditors of PDVSA, who were

able to obtain earlier writs because they held direct claims against PDVSA. ConocoPhillips has

followed Delaware’s first-in-time policy and related guidance from this Court to enforce its rights

as a direct judgment creditor “to the maximum extent that can be accomplished without a specific




                                                  3
Case 1:17-mc-00151-LPS Document 612 Filed 06/14/23 Page 7 of 7 PageID #: 15410




license from OFAC” such that “all preparatory steps that can be taken without such a license can,

and should, be taken.” D.I. 234 at 33.

        ConocoPhillips’ requested approach to priority based on the date of issuance of the

conditional writs best effectuates Delaware law and this Court’s rulings. Gold Reserve disregards

Delaware law and the Court’s prior rulings, in favor of a so-called equitable approach that treats

all creditors as though they were similarly situated in an attempt to rewrite the history of

this litigation.

                                                 Respectfully submitted,
                                                 ROSS ARONSTAM & MORITZ LLP

 Of Counsel:                                     /s/ Garrett B. Moritz
                                                 Garrett B. Moritz (Bar No. 5646)
 Michael S. Kim                                  Elizabeth M. Taylor (Bar No. 6468)
 Marcus J. Green                                 1313 North Market Street, Suite 1001
 Josef M. Klazen                                 Wilmington, Delaware 19801
 Lydia L. Halpern                                (302) 576-1600
 KOBRE & KIM LLP                                 gmoritz@ramllp.com
 800 Third Avenue                                etaylor@ramllp.com
 New York, New York 10022
 (212) 488-1200                                  Attorneys for Phillips Petroleum Company
 michael.kim@kobrekim.com                        Venezuela Limited, ConocoPhillips
 marcus.green@kobrekim.com                       Petrozuata B.V., and ConocoPhillips Gulf of
 jef.klazen@kobrekim.com                         Paria B.V.
 lydia.halpern@kobrekim.com

 Richard G. Mason
 Amy R. Wolf
 Michael H. Cassel
 WACHTELL, LIPTON, ROSEN & KATZ
 51 West 52nd Street
 New York, New York 10019
 (212) 403-1000
 RGMason@wlrk.com
 ARWolf@wlrk.com
 MHCassel@wlrk.com

 Dated: June 14, 2023




                                                4
